           Case 1:19-cr-00064-GHW Document 96 Filed 02/17/21 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------- X
                                                               :
 UNITED STATES OF AMERICA,                                     :
                                                               :
                                                               :
                              -v-                              :
                                                               :              1:19-cr-064-GHW
                                                               :
 NATALIE SOURS EDWARDS,                                        :                  ORDER
                                                               :
                                               Defendant. :
 ------------------------------------------------------------- X

GREGORY H. WOODS, United States District Judge:

         It is hereby ORDERED that the sentencing hearing currently scheduled for April 2, 2021 is

adjourned to May 20, 2021 at 10:00 a.m. in Courtroom 12C, Daniel Patrick Moynihan United States

Courthouse, 500 Pearl Street, New York, New York 10007. Members of the public who wish to

audit the proceeding may do so using the following dial-in information: (888) 557-8511; Access

Code: 7470200.

         SO ORDERED.

Dated: February 16, 2021                                           __________________________________
                                                                           GREGORY H. WOODS
                                                                          United States District Judge
